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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ERIC JACKSON, ALARIC STONE, and                     )
MICHAEL MARCENELLE, on behalf of                    )
themselves and all others similarly situated,       )
                                                    )         Case No. 4:22-cv-00825-P
                       Plaintiffs,                  )
v.                                                  )
                                                    )
ALEJANDRO N. MAYORKAS, in his official              )
capacity as Secretary of Homeland Security, et al., )
                                                    )
                       Defendants.                  )

               PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE OF
                        LEGISLATIVE DEVELOPMENTS

       In its Notice of Legislative Developments (ECF No 53), the Coast Guard

mischaracterizes the 2023 National Defense Authorization Act (NDAA) as something that will

necessarily significantly impact Plaintiffs’ claims. ECF No. 53 at 1-2. As Plaintiffs previously

discussed (ECF No. 50 at 2 n.1; ECF No. 52 at 2) and as the Coast Guard does not dispute (ECF

No. 53 at 2), the NDAA directs rescission of only the Department of Defense’s COVID-19

vaccine mandate; the NDAA makes no mention of and therefore does not directly affect the

Coast Guard’s separate, independent, later-issued mandate. Contrary to the Coast Guard’s

assertion (ECF No. 53 at 2), it is not “misleading” to point out that the NDAA vaccine-mandate-

rescission provision does not apply to the Coast Guard. It is a plain, undisputable fact.

       The Department of Justice vaguely suggests that the Coast Guard “intends” to remain

“aligned with the Department of Defense regarding COVID-19 vaccination policy” (ECF No. 53

at 2), but it offers no citation to any such legal requirement, no statement from Coast Guard

leadership promising any change to vaccination policy let alone the scope of such a change, and

no indication of when such a change may occur. Even assuming the Coast Guard is signaling an

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intention to voluntarily cease the vaccine mandate at some point and in some manner, class-wide

injunctive relief remains necessary. The requested injunction would provide urgently-needed

protections beyond what the NDAA provides—even if the NDAA did somehow apply here. For

example, as Plaintiffs discussed previously (ECF No. 50 at 2 n.1), nothing in the NDAA restricts

the Coast Guard’s complete discretion to punish prior noncompliance with the vaccine

mandate, including by denying reenlistment and promotion which lead to discharge, and which

multiple service members have faced and currently face. The Coast Guard conspicuously

offers no response to this key fact. See also this Court’s recent decision in Schelske v. Austin

(ECF No. 52-1 at 3-4).

       The Coast Guard’s suggestion that it has “paused separations due to vaccination until

January 15, 2023” is disingenuous at best; in a December 8, 2022 email to Plaintiffs’ counsel, the

Coast Guard made clear (again) that it will not agree to provide relief as to all putative class

members: “As before, it will not act with respect to everyone in the class. If you know of any

individual in the class who has a discharge date before January 15, 2023, and who has authorized

you to request an extension of that discharge date on their behalf, you may bring that person to

our attention.” Because of the Coast Guard’s refusal to provide relief with respect to everyone in

the class, Plaintiffs’ counsel have had to bring specific service members to the Coast Guard’s

attention if Plaintiffs’ counsel happen to be aware of their specific situations. On December 15,

2022, Plaintiffs’ counsel brought to the Coast Guard’s attention yet another putative class

member who the Coast Guard was attempting to discharge. On December 16, the Coast Guard

agreed to postpone his discharge to January 15. But this putative class member obtained relief

only because he connected with Plaintiffs’ counsel. Though Plaintiffs’ counsel have been able to




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obtain temporary relief for a number of service members,1 it is highly unlikely all 1,200 class

members know that they need to contact Plaintiffs’ counsel if in need. While the Coast Guard

itself has essentially designated Plaintiffs’ counsel to represent putative class members in

negotiating temporary relief for them (“you may bring that person to our attention”), the Coast

Guard insists on addressing requests for relief in piecemeal fashion and only if Plaintiffs’ counsel

can provide specific names. This is prejudicial to the putative class as a whole. Plaintiffs’

counsel do not have the same power and authority to help the class as class counsel appointed by

the Court under Rule 23. Plaintiffs again urge the Court to grant their motions for class-wide

relief (ECF No. 4) including class certification, appointment of Plaintiffs’ counsel as class

counsel, and a class-wide injunction.




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  Under the terms of the NDAA, the rescission of the Secretary of Defense’s mandate is not
required until “30 days after the date of the enactment of this Act.” In other words, even
assuming the Coast Guard intended to cease separations by the Department of Defense’s
deadline, Coast Guard leadership still has up to a month to discharge as many members of the
putative class as possible under the existing vaccine mandate, consistent with the Coast Guard’s
repeated and unwavering refusal to suspend separation actions for the entire putative class absent
a court order. See ECF No. 44 at 2; ECF No. 47 at 2, ECF No. 51 at 2. The Coast Guard has
agreed to temporarily suspend separation actions for a relatively few service members, including
a group of reservists having an original Inactive Status List date of October 1, 2022, and a
handful of service members who have contacted Plaintiffs’ counsel on their own. But the group
for whom extensions have been secured represent a relatively small faction (approximately 10%)
of the entire putative class, with over 1,000 service members facing immediate termination and
continued, repeated instances of irreparable harm. See ECF Nos. 25, 44, 47, 51. And even those
for whom extensions have been secured remain at risk of separation without class-wide relief
from this Court, given that the extensions secured by Plaintiffs’ counsel run only to January 15,
2023.

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Respectfully submitted,

/s/ Adam S. Hochschild

Stephen Crampton, pro hac vice                Charles W. Fillmore
THOMAS MORE SOCIETY – Senior Counsel          State Bar # 00785861
PO Box 4506                                   H. Dustin Fillmore III
Tupelo, MS 38803                              State Bar # 06996010
(662)255-9439                                 THE FILLMORE LAW FIRM, L.L.P.
scrampton@thomasmoresociety.org               201 Main Street, Suite 700
                                              Fort Worth, TX 76102
Michael McHale, pro hac vice                  (817)332-2351
THOMAS MORE SOCIETY – Counsel                 chad@fillmorefirm.com
10506 Burt Circle, Ste. 110                   dusty@fillmorefirm.com
Omaha, NE 68114
(402)501-8586                                 Nathan Loyd, pro hac vice
mmchale@thomasmoresociety.org                 THOMAS MORE SOCIETY – Special Counsel
                                              5101 Old Highway 5, Box 442
Adam S. Hochschild, pro hac vice              Lebanon, GA 30146
Hochschild Law Firm                           (559)744-3664
THOMAS MORE SOCIETY – Special Counsel         nathaniel.loyd@thomasmoresociety.org
PO Box 401
Plainfield, VT 05667
(314)503-0326
adam@hochschildlaw.com

Mary Catherine Hodes, pro hac vice
THOMAS MORE SOCIETY – Special Counsel
112 S. Hanley Rd., Second Floor
Clayton, MO 63105
(314)825-5725
mchodes@thomasmoresociety.org

Paul M. Jonna, pro hac vice
LiMandri & Jonna LLP
THOMAS MORE SOCIETY – Special Counsel
P.O. Box 9120
Rancho Santa Fe, CA 92067
(858)759-994
pjonna@limandri.com


                                Counsel for Plaintiffs


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